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 1                                      UNITED STATES DISTRICT COURT

 2                                            DISTRICT OF NEVADA

 3                                                     ***

 4

 5    UNITED STATES OF AMERICA,

 6                         Plaintiff,                    2:13-cr-00040-APG-VCF

 7    vs.                                                ORDER

 8    YAN JUAN ZHEN,

 9                         Defendant.

10

11            A discovery hearing is scheduled for 10:00 a.m., February 12, 2015, in courtroom 3D. The

12   Government has requested to extend the date to file a response to Defendant’s Motion for Discovery

13   several times. In the latest request on October 29, 2014, the court granted the Government an extension

14   to December 1, 2014 to file its response to Defendant’s Motion for Discovery. (#101). To date, the

15   Government has not filed its response.

16            IT IS HEREBY ORDERED that any response to Defendant’s Motion for Discovery (#84) must

17   be filed by January 22, 2015. The reply in support of Defendant’s Motion for Discovery must be filed by

18   February 5, 2015.

19            DATED this 30th day of December, 2014.

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22                                                             CAM FERENBACH
                                                               UNITED STATES MAGISTRATE JUDGE
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